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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF BALTIMORE

 

UNITED STATES OF AMERICA, CASE NO. JFM-90-0135

Plaintiff,
The Honorable J. Frederick Motz

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|

|

v. |
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NAMOND WILLIAMS, |
|
Defendant.

MOTION FOR LEAVE TO FILE UNTIMELY NOTICE OF APPEAL
DUE TO UNIQUE CIRCUMSTANCES AND EXCUSABLE NEGLECT

Comes Now Namond Williams, by and through his undersigned attorney, moving this
Court on the basis of the “unique circumstances” doctrine to sanction the technically late filing
of his notice of appeal seeking review of this Court’s order of June 17, 2015 (partially reducing
his sentence). As for the circumstances warranting this action, Namond submits as follows.

I, The Facts

Namond Williams was sentenced in this Court (Kaufman, J.) some 23+ years ago (1-13-
92) to a term of 600 months imprisonment for conspiracy to distribute heroin and cocaine. See
Judgment, at 1-2. He was 22 years old. Presentence Investigation Report (PSIR), at 1. A young
man, Namond was alleged to have been inveigled into the drug activities of his uncle, Linwood
Williams, a target of some prominence sought by law enforcement in Baltimore during that
period. PSIR at J§ 5-6. With respect to quantity culpability, Namond was attributed a grammage
of at least 10 kilograms for sentencing purposes, albeit under a regenerative method of

EGS

calculation that extrapolated from 7,3 7,800. grams.attributed to the conspiracy as a whole.’ PSIRY

 

TOUTES ow
' This attribution predated the Fourth Circuits’ ‘décigion'in Gollins and other sentencing refinements which
have ameliorated the principles by which one’s culpability regarding quantity is calculated. The impact of

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